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                          No. 23-1687
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           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE THIRD CIRCUIT
                    ________________________

          IN RE BOLIVARIAN REPUBLIC OF VENEZUELA;
       PETRÓLEOS DE VENEZUELA, S.A.; CITGO PETROLEUM
             CORPORATION; and PDV HOLDING, INC.,
                                 Petitioners.
                        ________________________

 Petition for a Writ of Mandamus to the United States District Court for
                          the District of Delaware
                        ________________________

    REPLY IN SUPPORT OF MOTION FOR A STAY PENDING
  RESOLUTION OF THE PETITION FOR A WRIT OF MANDAMUS
                 ________________________

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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Third Circuit

L.A.R. 26.1, Petitioners Petróleos de Venezuela, S.A. (PDVSA), PDV Holding, Inc.

(PDVH), and CITGO Petroleum Corporation (CITGO) hereby disclose as follows:

      PDVSA is a Venezuelan corporation that is wholly owned by the Venezuelan

government, Petitioner Bolivarian Republic of Venezuela (the Republic). PDVH is

a wholly owned subsidiary of PDVSA. CITGO is a wholly owned subsidiary of

CITGO Holding, Inc., which is a wholly owned subsidiary of PDVH.




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                                INTRODUCTION

      Long on hyperbolic rhetoric but short on real substance, Crystallex’s

opposition primarily relies on two unfounded ad hominem attacks. First, Crystallex

criticizes the VPs for having unsuccessfully sought relief from this Court before.

But their win-loss record in prior appeals—which largely addressed jurisdictional

issues—sheds no light on the merits here. Second, Crystallex casts the VPs’

disqualification motion as a delay tactic. But that portrayal continues to ignore that

in 2019, the Executive Branch blocked transfer of the VPs’ assets in this country for

the benefit of the Venezuelan people. In this context, it is hardly improper for the

VPs to seek to ensure that any court-ordered sale of the crown jewel of Venezuela’s

state oil company be conducted in a lawful manner—and certainly not by a special

master who has abandoned any appearance of impartiality.

      Indeed, the VPs sought to prevent the problems here by asking to silently

observe the special master’s January 12 meeting. Had Crystallex and the special

master agreed to that simple request—as was clearly required—no disqualification

motion would have been necessary. Instead, they opposed it on the dubious ground

that the VP’s “mere presence” would “only chill discussion.” App. 237a; accord

D.E. 504. The public could reasonably interpret that to mean that the special master

was not just attempting to impartially solicit the Executive Branch’s views but—as

he admitted—to lobby it to “cooperat[e] with” the sale process. App. 237a.



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      Crystallex therefore fails to overcome the VPs’ showing that this Court will

likely grant mandamus and that the balance of equities decisively favors a stay. And

because the special master “will submit” his recommendation based on the ex parte

meeting “on or before … April 30, 2023,” D.E. 548 at 2, the VPs respectfully request

that this Court act promptly (including, if necessary, by granting a brief

administrative stay while it considers the stay motion).

                                   ARGUMENT

I.    THE VPS AT THE VERY LEAST HAVE A REASONABLE CHANCE
      OF OBTAINING MANDAMUS RELIEF

      A.1. Crystallex primarily dismisses the VPs’ advocacy objection as mere

disagreement with a purported factual “finding[]” that the special master only sought

“‘clarity’” from the Executive Branch. Opp. 9. That response is doubly flawed.

      First, the question under 28 U.S.C. § 455 is not whether the special master in

fact engaged in improper lobbying, but whether a reasonable person might suspect

he did. Mot. 12-13. And given the “‘objective facts’” here, Opp. 12, such suspicions

are entirely reasonable. It is undisputed that the special master refused to let the

VPs’ counsel observe the meeting for fear that their presence would “chill

discussion,” App. 237a, which makes perfect sense if he was advocating against the

VPs’ interests, but no sense at all if he was merely asking the Executive Branch to

“clarify its position,” Opp. 2. Crystallex cannot obscure this obvious inference

through vague, meritless insinuations about the VPs’ alleged “bad-faith tactics” in


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litigation, Opp. 11, as even it does not assert that they have ever disrupted any

proceeding, let alone one conditioned on their attending silently.

      Second, if this Court were to consider what was actually said in a meeting that

neither the district judge nor the parties attended, the only evidence is that the special

master admitted he intended to engage in “advocacy.” App. 110a, 166a. While

Crystallex, like the district court, characterizes that word as meaning that the special

master was only seeking to ascertain the Executive Branch’s position, that belated

gloss is irreconcilable with the undeniable fact that the special master and his counsel

previously described his objective as providing the Executive Branch with “his

‘perspective on why OFAC cooperation with the Court’s order is appropriate’” and

on “‘the benefits of the orderly sale process.’” Opp. 11 (brackets omitted). Again,

only such lobbying would be “chill[ed]” by the VPs’ presence. App. 237a.

      Crystallex also faults the VPs for not seeking “an evidentiary hearing on what

happened at the meeting.” Opp. 11. But all agreed that the special master had

lobbied the Executive Branch until his counsel tried to backtrack during oral

argument on the disqualification motion. Mot. 10-11. Indeed, at that argument’s

outset, the district court concluded no “evidentiary hearing” was necessary given the

absence of “any material factual dispute.” App. 9a. That was because the only “fact

dispute” had been the precise date on which the VPs “were told that the Special

Master would not permit them to attend,” D.E. 517 at 1, which had been resolved in



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the VPs’ favor when the special master confessed error, App. 151a. Accordingly,

the VPs were the only ones “sandbagg[ed]” here, App. 66a, when the special

master’s counsel tried from the podium to spin his client’s undisputed words and

deeds shortly before the district court ruled from the bench.1

      Lacking a viable factual theory, Crystallex alternatively claims that judicial

officers can “‘advocate[] to enforce a federal judgment’” “as a matter of law.” Opp.

13 (brackets omitted). But not even the district court embraced that breathtakingly

flawed theory, as no one could seriously contend the district judge himself could call

OFAC (or the Treasury Department) and press for Crystallex to be granted a license

in order to vindicate “the rule of law.” Opp. 14; see Mot. 10; Pet. 14-15. In any

event, the special master’s lobbying was not done to enforce an existing court order,

but to secure support for a new one. While the district court has answered whether

Crystallex’s judgment should be enforced, it has not decided when and how to do so

given the risk that “sanctions could deter bidders” from participating—that is why it

“directed [the special master] to solicit OFAC’s views.” Opp. 5; see Mot. 1-2. Yet

rather than adhere to that factfinding role, the special master instead urged OFAC to

“cooperat[e] with” the sale process by supporting the immediate launch. App. 237a.




1
 Thus, insofar as the district court did make any “factual finding[]” that the special
master had only sought “clari[t]y,” it would be “clearly erroneous,” Opp. 2, as the
VPs made plain in their motion, see Mot. 11-12.


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That transformation from an impartial judicial officer to an advocate for Crystallex

compels his disqualification.

      2.     Even setting aside this advocacy, Crystallex fails to justify the special

master’s decision to conduct the January 12 meeting on an ex parte basis. Contrary

to its suggestion, the VPs do not contend that “ex parte communications alone

require recusal,” Opp. 15 (cleaned up), but that this meeting did by giving the special

master personal knowledge of disputed evidentiary facts and undermining his

impartiality due to his insistence on fact-gathering in secret, Mot. 13-14. Nor was

the special master merely inquiring as to “the government’s legal position.” Opp.

16. Rather, he sought, in his own words, to “ascertain whether OFAC will issue a

license or otherwise authorize the sale of the PDVH shares.”                App. 237a.

Determining what OFAC intends to do in the future is a factual inquiry, not a legal

one, especially when the purpose is to determine whether to launch the sale process

in light of bidders’ uncertainty about OFAC’s position. Contrary to Crystallex’s

suggestion (Opp. 15), neither the text of Rule 53 nor any precedent permits such ex

parte fact-gathering from third parties. After all, the district judge could not secretly

call up the Treasury Department, ask if and when OFAC plans to approve the launch,

and base his launch decision on the purported answer, thereby depriving the VPs of

any ability “to adequately respond to” his characterization. In re Kensington Int’l

Ltd., 368 F.3d 289, 310 (3d Cir. 2004).



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      Crystallex therefore retreats to dismissing this particular ex parte factfinding

as “moot,” Opp. 16, in light of the special master’s April 18 revelation that he

personally received unspecified ex parte “input” from “the Department of Justice on

April 7,” which is “being factored into” his recommendation, D.E. 548 at 2. But his

receipt of additional ex parte input exacerbates the problem (especially if that input

was not in writing).       Moreover, the special master did not say that his

recommendation would consider only the April “input,” and even if he did, his prior

ex parte meeting “may reasonably be expected to color” his interpretation of the

April submission. In re Brooks, 383 F.3d 1036, 1046 (D.C. Cir. 2004). Even more

problematic, his ex parte communications may have influenced the Executive

Branch’s actions to Crystallex’s benefit at the VPs’ expense.

      3.     As to untimeliness and waiver, Crystallex largely reprises the district

court’s errors without offering any meaningful response to the VPs’ points that the

special master had previously told the district court and the parties that he would not

engage in advocacy before abruptly changing gears on January 3; that he had

declined to resolve whether they would be excluded from his meeting before then;

that none of his prior ex parte meetings had involved factfinding for his

recommendation on a pending judicial decision; that the VPs immediately objected

to this meeting before it took place; and that neither taking six calendar days to lodge

an objection nor citing § 455(a) exclusively can be plausibly described as strategic



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behavior. Mot. 15-18; see Pet. 24-29. Instead, Crystallex doubles down, making

the unsupported suggestion that the VPs’ decisions were part of a grand strategy to

disqualify “the judge.” Opp. 18. Exactly the opposite is true. While the special

master insisted that he and the judge must stand or fall together, the VPs refuted that

position and explained why the facts supporting their motion did not call the judge

into question. App. 145a-64a. Indeed, the VPs tried to avoid the need to disqualify

the special master by notifying the district court of the problems before the meeting

occurred, Mot. 16, just as they are now trying to foreclose any implications for the

judge by seeking a stay before the special master submits his recommendation.

      B.     Crystallex fares even worse when it comes to the requirements for

mandamus relief.

      1.     Crystallex never disputes that if the special master should have been

disqualified under § 455, then the district court’s refusal to do so is a clear and

indisputable error justifying mandamus. Mot. 18-19. Nor could it. See, e.g.,

Alexander v. Primerica Holdings, Inc., 10 F.3d 155, 163 n.9 (3d Cir. 1993) (when a

judicial officer’s “impartiality could reasonably be questioned,” a “refusal to

disqualify” him is “an improper exercise of [judicial] discretion” warranting

“mandamus”); Mot. 9.

      2.     Crystallex suggests that appeal from final judgment is “[o]rdinarily”

adequate to challenge disqualification denials and that In re School Asbestos



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Litigation, 977 F.2d 764 (3d Cir. 1992), recognized “a narrow exception” for § 455

claims against judges, not special masters. Opp. 20. But School Asbestos limited

prior precedent to the narrow context of actual-bias claims under 28 U.S.C. § 144,

and adopted a general rule that appeal from final judgment is inadequate for

appearance-of-partiality claims under 28 U.S.C. § 455, because “the public’s

confidence in the judiciary … may be irreparably harmed if a case is allowed to

proceed before a judge who appears to be tainted.” 977 F.2d at 776; see id. at 775-

77. Crystallex’s unsupported attempt to distinguish appearance-of-partiality claims

under § 455 against special masters thus makes no sense and would require splitting

from the D.C. Circuit. See, e.g., Brooks, 383 F.3d at 1044.

      In fact, “[t]o resolve” a circuit “conflict” over “the application of § 455 to

special masters”—including the outdated Second Circuit case Crystallex cites—“the

Supreme Court amended Fed.R.Civ.P. 53(a)(2) in 2003 to subject special masters to

the requirements of § 455.” Guardian Pipeline, L.L.C. v. 950.80 Acres of Land, 525

F.3d 554, 556 (7th Cir. 2008). Crystallex thus gets matters backwards in suggesting

that the Supreme Court’s confirmation that special masters must comply with

§ 455’s requirements for judges was intended “to protect litigants, not public

confidence” in the courts. Opp. 20-21. Crystallex emphasizes that Rule 53 permits

parties “to waive any grounds for recus[ing]” special masters and to consent to their

“ex parte communications.” Opp. 20. But parties also can waive § 455(a) grounds



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for disqualifying judges, 28 U.S.C. § 455(e), and “consent” to their “ex parte

communications,” Kensington, 368 F.3d at 311. Whatever modest differences may

exist in the respective waiver and consent rules, the critical point here is that “review

after final judgment … cannot cure” the “harm to public confidence” caused by a

special master’s violation of § 455. School Asbestos, 977 F.2d at 776.

      Crystallex relatedly asserts that an impartial district judge’s denial of a motion

to disqualify a special master is sufficient “to protect ‘public confidence’ until a later

appeal.” Opp. 21. But a judge’s trust in his handpicked “fellow member” of the

judicial family “is unlikely to significantly quell the concerns of the skeptic.”

Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 865 n.12 (1988); see

Mot. 9, 12-13. Just as a law clerk cannot “visit the scene of the crime, take

fingerprints, interview witnesses, and report back to the judge about his findings”

simply because the judge can “review the clerk’s findings de novo,” a judge’s

approval of disqualifying conduct by a “special master” does not eliminate the harm

to the public’s confidence in the judiciary. Brooks, 383 F.3d at 1046. If anything,

giving judicial imprimatur to such misconduct exacerbates the injury.

      3.     Crystallex speculates this Court will exercise “‘discretion’” to deny the

petition in light of the VPs’ alleged “history of … abusing the judicial system.” Opp.

21. But such focus on the parties’ conduct is misplaced, as “the keystone of section

455” is “public confidence in the judicial system, both in the particular case and in



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general.” School Asbestos, 977 F.2d at 788. In any event, Crystallex’s accusation

of abuse is utterly unwarranted. Although this Court rejected the VPs’ position in a

single appeal in 2019 and determined that later appeals in this exceedingly complex,

high-stakes matter were merely premature, see Pet. 6-10, it has never suggested that

any of these appeals were abusive or otherwise improper.

II.   THE EQUITIES STRONGLY FAVOR A STAY

      Crystallex barely addresses the equities, Opp. 22-23, confirming that those

factors clearly favor a stay. Crystallex dismisses the irreparable injuries to the VPs

and the public simply by reprising its flawed argument that appeal from a final sale

order is an adequate remedy. Opp. 22; see supra at 7-9. And while it insists that

preserving the status quo would cause some unspecified “harm,” Opp. 22, it never

denies that its attachment will bar the shares’ transfer to others, its post-judgment

interest will continue to accrue, and any valid sale after interlocutory review will

satisfy the debt it is owed, Mot. 21.

      Indeed, Crystallex admits a stay would be appropriate if the VPs “post[ed] a

supersedeas bond.” Opp. 3. But “[t]he purpose of a supersedeas bond is to preserve

the status quo pending appeal,” and Crystallex’s attachment already does that by

blocking the shares’ transfer. In re Advanced Elecs., Inc., 283 F. App’x 959, 966

(3d Cir. 2008) (cleaned up) (order prohibiting debtors from transferring shares

“functioned in lieu of a supersedeas bond”). Accordingly, the only party engaged in



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“obstructive behavior” here is Crystallex, whose only evident purpose for

demanding a bond is to “to invent further obstacles” to meaningful review by this

Court. Opp. 4, 22. And that review is particularly warranted now: This Court

should not permit the crown jewel of Venezuela’s state oil company to head toward

the auction block without first addressing whether the process for doing so has been

tainted by a judicial officer’s misconduct.




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                                CONCLUSION

      This Court should stay the special master’s participation in the underlying

proceedings pending resolution of the mandamus petition.

      Dated: April 27, 2023             Respectfully submitted,

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                          COMBINED CERTIFICATIONS

         1.   Pursuant to Third Circuit L.A.R. 28.3(d), at least one of the attorneys

whose names appear on this motion, including the undersigned, is a member in good

standing of the bar of this Court.

         2.   This brief complies with the word limit of Fed. R. App. P. 27(d)(2)

because, excluding the parts of the document exempted by Fed. R. App. P. 32(f),

this document contains 2599 words. This brief also complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R.

App. P. 32(a)(6) because this document has been prepared in a proportionally spaced

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         3.   Pursuant to Third Circuit L.A.R. 31.1(c), the text of the electronic

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Dated: April 27, 2023                          /s/ Hashim M. Mooppan
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                          CERTIFICATE OF SERVICE

      I hereby certify that on April 27, 2023, this reply was electronically filed with

the Clerk of Court using the appellate CM/ECF system. Service on counsel for all

parties in the district court has been accomplished via notice filed through the district

court’s CM/ECF system attaching a copy of this filing. Judge Leonard P. Stark has

also been provided with a paper copy of this filing by United Parcel Service

overnight delivery to 717 Madison Place, N.W., Washington, D.C. 20439.

      I further certify that four hard copies of this reply will be sent to the Clerk of

Court by United Parcel Service overnight delivery.


Dated: April 27, 2023                           /s/ Hashim M. Mooppan
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                                                Corporation and PDV Holding, Inc.




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